
977 A.2d 438 (2009)
410 Md. 124
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Wayne Isaiah McBROOM, Respondent.
Misc. Docket AG Nos. 4, 19, September Term, 2009. and 19.
Court of Appeals of Maryland.
August 10, 2009.

ORDER
Upon consideration of the Joint Petition for Disbarment by Consent filed herein, pursuant to Maryland Rule 16-772, it is this 10th day of August, 2009,
ORDERED, by the Court of Appeals of Maryland, that Wayne Isaiah McBroom, is hereby disbarred by consent from the practice of law in the State of Maryland; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Wayne Isaiah McBroom from the register of attorneys, and pursuant to Maryland Rule 16-772(d) shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
